       Case 3:19-cv-00602-LRH-WGC Document 47 Filed 07/17/20 Page 1 of 10


1    David C. O’Mara (SBN 08599)
2    THE O’MARA LAW FIRM, P.C.
     311 E. Liberty Street
3    Reno, Nevada 89501
4    Telephone: 775-323-1321
     Fax: 775-323-4082
5    david@omaralaw.net
6
     John P. Kristensen
7    (Pro Hac Vice)
8    KRISTENSEN LLP
     12540 Beatrice Street, Suite 200
9    Los Angeles, California 90066
10   Telephone: 310-507-7924
     Fax: 310-507-7906
11   john@kristensenlaw.com
12
     Attorneys for Plaintiffs
13
14                     THE UNITED STATES DISTRICT COURT
15                     DISTRICT OF NEVADA – RENO DIVISION
     MARLONESHA BECKER,                       ) Case No: 3:19-CV-00602-LRH-WGC
16
     individually and on behalf of all others )
17   similarly situated,                      ) PLAINTIFFS BEVERLY FLYNN,
                                              ) KIRSTEN DISCIPULO, AND
18
                          Plaintiff,          ) BROOKLYN DEVENPORT’S
19           vs.                              ) NOTICE OF MOTION AND
                                              ) MOTION TO VACATE ORDER
20
     KAMY KESHMIRI, an individual;            ) COMPELLING THEIR CLAIMS TO
21   JAMY KESHMIRI, an individual;            ) ARBITRATION AND LIFT STAY
     FANTASY GIRLS, LLC, a Nevada             )
22
     limited liability corporation; DOE       ) [Oral Argument Requested]
23   MANAGERS 1-3; and DOES 4-100,            )
     inclusive,                               )
24
                         Defendants.          )
25                                            )
                                              )
26
                                              )
27
28
      PLAINTIFFS’ MOTION TO VACATE ORDER COMPELLING THEIR CLAIMS TO ARBITRATION AND
                                        LIFT STAY
                                           –i–
       Case 3:19-cv-00602-LRH-WGC Document 47 Filed 07/17/20 Page 2 of 10


1          TO THIS HONORABLE COURT AND ALL PARTIES AND THEIR
2    ATTORNEYS OF RECORD:
3          PLEASE TAKE NOTICE that plaintiffs Beverly Flynn (“Flynn”), Kirsten
4    Discipulo (“Discipulo”), and Brooklyn Devenport (“Devenport”) (collectively,
5    “Plaintiffs”), by and through their undersigned counsel, hereby move this Court of an
6    order vacating the Court’s May 26, 2020 Order [Dkt. 45] compelling arbitration and
7    requesting that the stay be lifted as a result of Defendants’ waiver of arbitration due to
8    nonpayment of arbitration fees.
9          This Motion is based upon this Notice, the accompanying Memorandum of
10   Points and Authorities, the declaration and exhibits thereto, the pleadings, and all
11   other papers on file in this action, and upon such other evidence and arguments as may
12   be presented at the hearing on this matter.
13
14
     Dated: July 17, 2020                          THE O’MARA LAW FIRM, P.C. &
15
                                                   KRISTENSEN LLP
16
                                                   /s/ John P. Kristensen
17
                                                   David C. O’Mara
18                                                 John P. Kristensen
                                                   Attorneys for Plaintiffs
19
20
21
22
23
24
25
26
27
28
      PLAINTIFFS’ MOTION TO VACATE ORDER COMPELLING THEIR CLAIMS TO ARBITRATION AND
                                        LIFT STAY
                                           –1–
          Case 3:19-cv-00602-LRH-WGC Document 47 Filed 07/17/20 Page 3 of 10


1                   MEMORANDUM OF POINTS AND AUTHORITIES
2            Plaintiffs Beverly Flynn (“Flynn”), Kirsten Discipulo (“Discipulo”), and
3    Brooklyn Devenport (“Devenport”) (collectively, “Plaintiffs”), by and through their
4    undersigned counsel, hereby move this honorable Court to vacate its Order compelling
5    Plaintiffs’ claims to arbitration [Dkt. 45] and lift the stay of litigation.
6    I.      INTRODUCTION
7            Plaintiffs joined the collective action filed by plaintiff Marlonesha Becker
8    (“Becker”) on or around September 30, 2019 [Dkt. 1] involving individual and
9    collective claims under the Fair Labor Standards Act (“FLSA”). 29 U.S.C. §§ 201, et
10   seq. 1 against defendants Kamy Keshmiri, Jamy Keshmiri, and Fantasy Girls, LLC
11   1
          Plaintiffs’ claims are centered on their misclassification as independent
12        contractors. Time and time again, circuit courts and district courts have ruled in
13        near unanimity, exotic dancers are employees. They are not independent
          contractors. See Mason v. Fantasy, LLC, No. 13–CV–02020–RM–KLM, 2015 WL
14        4512327, at *13 (D.Colo. July 27, 2015); Henderson v. 1400 Northside Drive, Inc.,
15        No. 1:13–CV–3767–TWT, 2015 WL 3823995, at *5 (N.D. Ga. June 19, 2015);
          Levi v. Gulliver’s Tavern, Incorporated, No. 15-cv-216-WES, 2018 WL 10149710
16        (D.R.I. Apr. 23, 2018) (granting dancer plaintiff’s partial summary judgment that
17        they are employees under the FLSA); Vaughn v. Paradise Entm’t Group, Inc., No.
          14-CV-00914-SCJ, Dkt. 190 (N.D. Ga. Mar. 15, 2016) (summary judgment);
18        Verma v. 3001 Castor, Inc., No. 13-3034, 2014 WL 2957453, at *5 (E.D. Pa. June
19        30, 2014), aff’d on appeal in Verma v. 3001 Castor, Inc., 937 F.3d 221 (3rd Cir.
          2019); McFeeley v. Jackson St. Ent., LLC, 47 F.Supp.3d 260, 279 (D.Md. 2014)
20        Stevenson v. Great Am. Dream, Inc., No. 1:12–CV–3359–TWT, 2013 WL
21        6880921, at *6 (N.D. Ga. Dec. 31, 2013); Hart v. Rick’s Cabaret Int’l, Inc., 967
          F.Supp.2d 901, 912-913 (S.D.N.Y. 2013); Collins v. Barney’s Barn, Inc., No.
22        4:12CV00685 SWW, 2013 WL 11457080 (E.D. Ark. Nov. 14, 2013); Butler v. PP
23        & G, Inc., No. CIV.A. WMN-13-430, 2013 WL 5964476, at *9 (D. Md. Nov. 7,
          2013), reconsideration denied, 2014 WL 199001 (D. Md. Jan. 16, 2014); Thornton
24        v. Crazy Horse, Inc., No. 3:06–CV–00251–TMB, 2012 WL 2175753 (D. Alaska
25        June 14, 2012); Clincy v. Galardi S. Enters., Inc., 808 F.Supp.2d 1326, 1343 (N.D.
          Ga. 2011); Thompson v. Linda and A. Inc., 779 F.Supp.2d 139, 151 (D.D.C. 2011);
26        Morse v. Mer Corp., No. 1:08-cv-1389-WTL-JMS, 2010 WL 2346334, at *6 (S.D.
27        Ind. June 4, 2010); Harrell v. Diamond A Entm’t. Inc., 992 F.Supp. 1343, 1348
          (M.D. Fla. 1997); Reich v. Priba Corp., 890 F.Supp. 586, 594 (N.D. Tex. 1995);
28        Martin v. Priba Corp., No. 3:91-CV-2786-G, 1992 WL 486911, at *5 (N.D. Tex.
         PLAINTIFFS’ MOTION TO VACATE ORDER COMPELLING THEIR CLAIMS TO ARBITRATION AND
                                           LIFT STAY
                                              –2–
       Case 3:19-cv-00602-LRH-WGC Document 47 Filed 07/17/20 Page 4 of 10


1    (collectively “Defendants”). This Court ordered the matter to arbitration. See Dkt. 45.
2    Defendants have failed to pay the initial filing fees the American Arbitration
3    Association (“AAA”), who in response refuses to administer the matters and will no
4    longer adjudicate arbitrations for Defendants in the future. Thus, Defendants have
5    unduly prejudiced Plaintiffs ability to adjudicate their claims and have no recourse
6    other than to request that this Court vacate its Order compelling Plaintiffs’ claims to
7    arbitration and lift the stay of litigation. Plaintiffs contend in this motion that
8    Defendants’ refusal to make their required payments and continue with the arbitration
9    constitutes either a waiver of arbitration or a breach of the arbitration agreement, or
10   both. See Declaration of John P. Kristensen (“Kristensen Decl.”) ¶ 3.
11   II.      FACTUAL AND PROCEDURAL BACKGROUND
12            Becker filed this matter on September 30, 2019 [Dkt. 1]. In response to
13   Becker’s Complaint, Defendants filed a Motion to Dismiss and/or Compel Individual
14   Arbitration [Dkt. 12] on November 19, 2019. Becker filed her Opposition [Dkt. 21]
15   and Defendants filed their Reply [Dkt. 22]. See Kristensen Decl. ¶ 4.
16            On January 21, 2020, Flynn’s Consent to Join was filed [Dkt. 29]. Defendants
17   filed a Motion to Strike Flynn’s Consent on January 24, 2020 [Dkt. 30]. Flynn filed
18   her Opposition on February 7, 2020 [Dkt. 33]. Defendants’ Reply was filed on
19   February 14, 2020 [Dkt. 34]. On January 27, 2020, Discipulo and Devenport filed
20   their Consents to Join [Dkt. 32]. Defendants filed their Motion to Strike Discipulo
21   and Devenport’s Consents to Join on February 20, 2020 [Dkt. 35]. Discipulo and
22   Devenport filed their Opposition on March 5, 2020 [Dkt. 36] and Defendants filed
23   their Reply on March 12, 2020 [Dkt. 37]. Defendants filed a Supplemental Reply on
24   March 12, 20220 [Dkt. 38]. See Kristensen Decl. ¶ 5.
25            The Court issued its Order on May 26, 2020 [Dkt. 45]. See Kristensen Decl. ¶ 6.
26
27         1992); see also Reich v. Circle C. Investments, Inc., 998 F.2d 324, 330 (5th Cir.
           1993) (affirming district court’s determination that exotic dancers were employees
28         under the FLSA).
      PLAINTIFFS’ MOTION TO VACATE ORDER COMPELLING THEIR CLAIMS TO ARBITRATION AND
                                        LIFT STAY
                                           –3–
           Case 3:19-cv-00602-LRH-WGC Document 47 Filed 07/17/20 Page 5 of 10


1             At that point, Discipulo, Flynn, and Devenport were full plaintiffs with all the
2    rights of the originally named plaintiff, Becker. See Kristensen Decl. ¶ 7. The Ninth
3    Circuit made this clear in Campbell v. City of Los Angeles, stating that every plaintiff
4    who opts in to a collective action obtains party status. Campbell v. City of Los
5    Angeles, 903 F.3d 1090, 1104-05 (9th Cir. 2018). 2
6             Discipulo and Devenport filed their arbitration demands with AAA and paid
7    their initial filing fees on June 2, 2020. Flynn filed her arbitration demand with AAA
8    and paid her initial filing fee on June 3, 2020. See Kristensen Decl. ¶ 8, Exhibits
9    (“Exs.”) 1-3.
10            On June 10, 2020 AAA sent correspondence to the parties in the Flynn,
11   Discipulo, and Devenport arbitrations and acknowledged receipt of Flynn, Discipulo,
12   and Devenport’s arbitration demands and filing fees and requested that Defendants
13   pay $1,900 for their share of the initial fees for each arbitration demand by June 24,
14   2020. See Kristensen Decl. ¶ 9, Exs. 4-6.
15            On June 25, 2020 AAA sent additional correspondence noting that Defendants
16   failed to make their share of the initial fees for the Flynn, Discipulo, and Devenport
17   arbitrations on June 24, 2020 and requested that Defendants make their payments by
18   July 9, 2020. See Kristensen Decl. ¶ 10, Exs. 7-9.
19            On July 13, 2020, AAA sent notice to the parties that Defendants failed to
20   submit the requested payments regarding the Flynn, Discipulo, and Devenport
21   arbitrations despite the AAA notices and missed deadlines and that AAA had closed
22   their file and would decline to administer any future matters involving Defendants.
23   See Kristensen Decl. ¶ 11, Exs. 10-12.
24   ///
25   ///
26   ///
27   2
           Becker’s dispute is still currently in arbitration, as Defendants’ payments are
28         currently up to date.
         PLAINTIFFS’ MOTION TO VACATE ORDER COMPELLING THEIR CLAIMS TO ARBITRATION AND
                                           LIFT STAY
                                              –4–
           Case 3:19-cv-00602-LRH-WGC Document 47 Filed 07/17/20 Page 6 of 10


1    III.     ARGUMENT
2             A.    Defendants’ Failure to Pay Mandates Resumption of Litigation
3             It is well established that a stay of litigation imposed because of a compelled
4    arbitration must be lifted when the party that moved for arbitration fails to pay
5    applicable arbitral fees upon a demand by the arbitrator, thus resulting in the
6    termination of the arbitration. The state of the law on this subject is well described by
7    an excellent survey case out of the Tenth Circuit, Pre-Paid Legal Servs., Inc. v. Cahill,
8    786 F.3d 1287, 1295 n.3 (10th Cir. 2015), cert. denied, 136 S. Ct. 373, 193 L. Ed. 2d
9    292 (2015), wherein, in discussing numerous cases on the issue, the court summarized
10   the law by stating that “some courts have viewed a party’s failure to pay its share of
11   the arbitration fees as a breach of the arbitration agreement, which precludes any
12   subsequent attempt by that party to enforce that agreement,” and that “[o]ther courts
13   have treated the failure to pay arbitration fees as a waiver of the right to arbitrate,” but
14   concluded that “the result is the same.” Notably, what happened in Cahill is exactly
15   what happened here, as Defendants caused the AAA arbitration proceeding to be
16   terminated after failing to pay their share of the arbitration costs. Furthermore, as was
17   true in Cahill, this refusal to pay was made without the pretense of being unable to
18   afford the requested arbitration fees. Whether this failure to pay is considered a breach
19   of the arbitration agreement or a waiver of that agreement, as succinctly stated by the
20   Tenth Circuit, “the result is the same.” In either instance, the stay must be lifted and
21   litigation must resume.
22            The Ninth Circuit in Tillman v. Tillman, 825 F.3d 1069 (2016) looked favorably
23   upon Cahill noting that the arbitration proceedings “had been had” when the
24   arbitration agency terminated arbitration proceedings due to a lack of payment of fees
25   by the respondent because the arbitration agency had abided by its rules and
26   determined that it would not proceed with the arbitrations further due to lack of
27   payment. Id. at 1074.
28   ///
       PLAINTIFFS’ MOTION TO VACATE ORDER COMPELLING THEIR CLAIMS TO ARBITRATION AND
                                         LIFT STAY
                                            –5–
         Case 3:19-cv-00602-LRH-WGC Document 47 Filed 07/17/20 Page 7 of 10


1            The Tillman Court determined that because the arbitration agency had
2    terminated the proceedings that “the district court properly lifted the stay.” 3
3            Here, AAA determined that the arbitration proceedings of Plaintiffs claims
4    cannot proceed because Defendants failed to pay their share of the fees. Based on the
5    Ninth Circuit’s analysis in Tillman, the Court must lift the stay. Plaintiffs abided by
6    the Court’s Order and filed arbitration demands and paid their share of the fees. The
7    AAA dutifully was prepared to administer the arbitrations upon receipt of Defendants’
8    share of their fees. AAA, however, has been unable to and now refuses to administer
9    any arbitrations involving Defendants in the future given their failure to pay their
10   share of the fees. Since AAA refuses to adjudicate Plaintiffs’ claims, they have
11   nowhere to go. Their claims are lost and they have no recourse in arbitration to obtain
12   an award as a result of Defendants’ actions. See Kristensen Decl. ¶ 12.
13           B.    Defendants Waived Arbitration by Failing to Pay Their Share of the
14                 Arbitration Fees
15           By failing to pay their share of the arbitration fees, Defendants have waived
16   their right to proceed with arbitration. “A party seeking to prove waiver of a right to
17   arbitration must demonstrate: (1) knowledge of an existing right to compel arbitration;
18   (2) acts inconsistent with that existing right; and (3) prejudice to the party opposing
19   arbitration resulting from such inconsistent acts.” Fisher v. A.G. Becker Paribas Inc.,
20   791 F.2d 691, 694 (9th Cir.1986). This matter presents a clear case of waiver.
21           First, it is undisputed that Defendants had knowledge of their right to compel
22   arbitration and proceed in arbitration. Not only did Defendants draft and force
23   Plaintiffs to sign the arbitration agreements, Defendants also filed motions in this
24   Court to compel Plaintiffs’ claims to arbitration. See Kristensen Decl. ¶ 13.
25   3
          The Eleventh Circuit has also found this line of reasoning persuasive. See Freeman
26        v. Smartpay Leasing, LLC, 777 Fed.Appx. 926 (11th Cir. 2019), affirming district
27        court vacating arbitration stay where the arbitration administrator (JAMS)
          defaulted a Defendant, Freeman v. Smartpay Leasing, LLC, No. 6:17-cv-938-Orl-
28        31GJK, 2018 WL 467390 (M.D. Fl. Jan. 18, 2018).
         PLAINTIFFS’ MOTION TO VACATE ORDER COMPELLING THEIR CLAIMS TO ARBITRATION AND
                                           LIFT STAY
                                              –6–
           Case 3:19-cv-00602-LRH-WGC Document 47 Filed 07/17/20 Page 8 of 10


1             Second, after the Court issued its Order compelling arbitration, Plaintiffs
2    promptly filed arbitration demands and paid their share of the filing fees. AAA send
3    repeated notices to Defendants for their share of the filing fees, which Defendants
4    failed to meet. No excuse or request for extensions was provided by the Defendants to
5    AAA. Defendants remained silent and took no action in the wake of Plaintiffs
6    initiating arbitrations in accordance with the Court’s Order. Surely if Defendants
7    wished to proceed with arbitration they would have paid the filing fees. After all,
8    Defendants filed several motions in this Court requesting that Plaintiffs proceed with
9    arbitration. Now, after having their requests granted, Defendants failed to follow
10   through with the Court’s Order, the arbitration, and AAA rules such that AAA has
11   refused to administer any arbitrations for Defendants in the future and requested that
12   Defendants remove AAA from their arbitration agreements. See Kristensen Decl. ¶
13   14.
14            Third, Defendants’ failure to pay their share of the arbitration fees has unduly
15   prejudiced Plaintiffs as they are left without a venue to adjudicate their claims. This
16   Court compelled Plaintiffs to adjudicate their claims in arbitration, but Defendants
17   have denied Plaintiffs’ ability to do so as AAA has refused to administer any
18   arbitrations for Defendants. Plaintiffs are thus prevented from seeking legal redress for
19   Defendants’ violation of the FLSA. Plaintiffs are left without recourse to seek
20   damages for Defendants’ unlawful conduct. Plaintiffs have no other option but to seek
21   relief from this Court in order to have a venue to adjudicate their claims as a direct
22   result of Defendants’ actions. See Kristensen Decl. ¶ 15.
23            Plaintiffs have met all three prongs of the Fisher test as it is clear that
24   Defendants have relinquished their right to arbitration by failing to pay fees as
25   required by AAA based on the arbitration agreements.
26   ///
27   ///
28   ///
       PLAINTIFFS’ MOTION TO VACATE ORDER COMPELLING THEIR CLAIMS TO ARBITRATION AND
                                         LIFT STAY
                                            –7–
       Case 3:19-cv-00602-LRH-WGC Document 47 Filed 07/17/20 Page 9 of 10


1           C.     Defendants’ Expected Argument that Due to COVID-19 They
2                  Should Be Absolved of Their Contractual Agreements Lack Merit
3           Defendants will presumably argue that they should have some breathing space
4    until their finances turn around. This argument will cause chaos if permitted to
5    proceed. Defendants drafted and prepared an arbitration agreement that they would
6    contractually pay a third party to adjudicate employment claims in lieu of Plaintiffs’
7    rights to a trial by jury on federal claims in federal court. Material to the agreement
8    was Defendants’ promise to pay their share of the arbitration. Now Defendants will
9    make an extraordinary argument that this Court should equitably sever the most
10   material term in the agreement between Plaintiffs and Defendants and then force a
11   third party arbitration administrator to ignore its own rules requiring payment. Also,
12   AAA did not refuse to arbitrate the matter. It was willing to arbitrate as long as
13   Defendants paid, as they have to date with Becker’s claims. Defendants’ failure to
14   abide by this Court’s Order, the arbitration provisions, and AAA’s rules and deadlines
15   has caused Plaintiffs’ undue prejudice. See Kristensen Decl. ¶ 16.
16   IV.    CONCLUSION
17          For the foregoing reasons, Plaintiffs respectfully request this Court issue an
18   Order that Defendants waived their right to arbitration, vacating its Order compelling
19   arbitration [Dkt. 45], and ordering that Defendants file an Answer within 10 days and
20   the lift is stayed as to Plaintiffs’ claims.
21
     Dated: July 17, 2020                           THE O’MARA LAW FIRM, P.C. &
22
                                                    KRISTENSEN LLP
23
                                                    /s/ John P. Kristensen
24
                                                    David C. O’Mara
25                                                  John P. Kristensen
                                                    Attorneys for Plaintiffs
26
27
28
      PLAINTIFFS’ MOTION TO VACATE ORDER COMPELLING THEIR CLAIMS TO ARBITRATION AND
                                        LIFT STAY
                                           –8–
    Case 3:19-cv-00602-LRH-WGC Document 47 Filed 07/17/20 Page 10 of 10




                          CERTIFICATE OF SERVICE


       I certify that on Friday, July 17, 2020, a true and correct copy of the attached
PLAINTIFFS BEVERLY FLYNN, KIRSTEN DISCIPULO, AND BROOKLYN
DEVENPORT’S NOTICE OF MOTION AND MOTION TO VACATE
ORDER COMPELLING THEIR CLAIMS TO ARBITRATION AND LIFT
STAY and accompanying documents were served via CM/ECF upon all participants
of record, including the individuals listed below, pursuant to Rule 5 of the FEDERAL
RULES OF CIVIL PROCEDURE:

Mark R. Thierman
mark@thiermanbuck.com
Joshua D. Buck
josh@thiermanbuck.com
Leah L. Jones
leah@thiermanbuck.com
THIERMAN BUCK LLP
7287 Lakeside Drive
Reno, Nevada 89511
Counsel for Defendants Kamy
Kashmiri, Jamy Kashmiri, and Fantasy
Girls, LLC



                                                       /s/ John P. Kristensen
                                                         John P. Kristensen
